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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                               CRIMINAL ACTION

v.                                                     NO. 12-01

ANDRE HANKTON                                          SECTION "F"

                             ORDER AND REASONS

        Before the Court is Andre Hankton's motion to dismiss Counts

3, 7, 8, and 9 of the indictment. For the following reasons, the

motion is DENIED.

                                  Background

        On June 19, 2014, a federal grand jury returned a 24-count

third       superseding   indictment,       charging   13   defendants      with

violations of federal criminal laws. The specific charges were

listed by the Court in its Order and Reasons issued earlier this

week on November 2, 2015.1 Count 1 of the indictment charges ten

defendants with participating in a RICO conspiracy concentrated in

the Central City neighborhood of New Orleans. Count 2 charges nine

of the defendants with participating in a conspiracy to engage in

a large-scale drug trafficking operation. The numerous substantive

counts that follow charge members and non-members of the RICO and

drug conspiracies with obstructing justice, possessing firearms,

multiple counts of murder, and other violent and non-violent


        1
       There, the Court denied nine motions to sever that were
tentatively set for hearing on November 6, 2015. This motion is
also scheduled for hearing on November 6, 2015. Oral argument has
not been requested for this motion and will not be held.

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crimes. This motion involves only one defendant, Andre Hankton.

     Andre Hankton is charged in Counts 3, 7, 8, and 9 of the

indictment. Count 3 charges that he was a member of a conspiracy to

possess firearms in furtherance of the RICO and drug conspiracies.

He is specifically accused of possessing a short-barreled shotgun

in Count 9. Andre is also charged alongside Telly Hankton in Counts

7 and 8 for the murder of Darnell Stewart. Specifically, Count 7

charges him with murder in aid of racketeering and Count 8 charges

him with causing death through the use of a firearm in furtherance

of the RICO and drug consiracies. Important to his contentions, he

is not named as a member of the RICO and drug conspiracies in

Counts 1 and 2.

     Andre Hankton contends that the indictment does not provide

him with fair notice of the charges against him. He claims that

Count 3 is inconsistent because it charges him with conspiring to

possess firearms in furtherance of the RICO and drug conspiracies

even though it is correct that he is not named as a member of the

underlying conspiracies. Similarly, he submits that he cannot be

charged with committing murder in furtherance of the RICO and drug

conspiracies in Counts 7 and 8 without also being charged as a

member of those conspiracies. Finally, he contends that the charge

for possessing a short-barreled shotgun in Count 9 is improperly




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joined because it is wholly unrelated to the RICO conspiracy.2



                                   I.

     The Sixth Amendment of the U.S. Constitution provides, in

part, that "[i]n all criminal prosecutions, the accused shall enjoy

the right ... to be informed of the nature and cause of the

accusation." U.S. CONST. amend. VI. This guarantee is implemented

by Rule 7 of the Federal Rules of Criminal Procedure3 and by case

literature.    The U.S. Court of Appeals for the Fifth Circuit

instructs that:

     An indictment is legally sufficient if (1) each count
     contains the essential elements of the crime charged, (2)
     the elements are described with particularity, and (3)
     the indictment is specific enough to protect the
     defendant against a subsequent prosecution for the same
     offense.

United States v. Cooper, 714 F.3d 873, 877 (5th Cir. 2013) (internal

quotations and citation omitted), cert. denied, 134 S.Ct. 313

(2013).4   Although each element of the charged offense must be


     2
      The Court denied Andre Hankton's motion to sever for improper
joinder in its Order and Reasons dated November 2, 2015. It does
not reconsider this claim here.
     3
      Rule 7(c)(1) provides that "[t]he indictment or information
must be a plain, concise, and definite written statement of the
essential facts constituting the offense charged and must be signed
by an attorney for the government...."
     4
      Stated differently, see also United States v. Cavalier, 17
F.3d 90, 92 (5th Cir. 1994)(citing United States v. Arlen, 947 F.2d
139, 144 (5th Cir. 1991), cert. denied, 503 U.S. 939 (1992)): "An
indictment is sufficient if it contains the elements of the charged
offense, fairly informs the defendant of the charges against him,

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alleged,   "the   law   does    not   compel   a   ritual    of     words";     the

sufficiency of an indictment "depends on practical, not technical,

considerations."    United States v. Ratcliff, 488 F.3d 639, 643 (5th

Cir. 2007)(citation omitted).

                                      II.

     The   singular     focus   of    the   present   motion        is   that   the

indictment is insufficient because it is unclear whether he must

defend himself against the RICO and drug conspiracy charges in

Counts 1 and 2 even though he is not named in those counts. Not

only does this motion ignore the legal standard to test the

sufficiency of an indictment, this unfounded conclusion is based

entirely on a faulty premise: that a defendant cannot be charged

with committing a crime in furtherance of a RICO conspiracy without

also being charged as a member of the conspiracy. The Fifth Circuit

is clear: "If an indictment charges RICO violations, offenses

committed as part of the pattern of racketeering activity are

properly joined even if the defendant objecting is not named in the

RICO count." United States v. Krout, 66 F.3d 1420, 1429 (5 Cir.

1995). The elements of the crimes alleged against Andre Hankton are

plainly described in the indictment.

     Andre Hankton's motion to dismiss Counts 3, 7, 8, and 9 of the

indictment is DENIED.



and insures that there is no risk of future prosecution for the
same offense."

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                             New Orleans, Louisiana, November 5, 2015



                                  ______________________________
                                       MARTIN L. C. FELDMAN
                                   UNITED STATES DISTRICT JUDGE




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